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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTINA DONAHUE, AS ADMINISTRATRIX     :
OF THE ESTATE OF ANGEL MCINTYRE,         :
DECEASED, MATTHEW MUNAFO, AND            :
KRISTYANNA DELLAVECCHIA                  :                         No. 22-1695
               Plaintiffs,               :
                                         :
               v.                        :
                                         :
BOROUGH OF COLLINGDALE, BOROUGH OF       :
DARBY, BOROUGH OF COLLINGDALE POLICE ` :
OFFICER COLIN RICHERS, INDIVIDUALLY      :
AND AS A POLICE OFFICER FOR COLLINGDALE :
POLICE DEPARTMENT, BOROUGH OF DARBY      :
POLICE OFFICER DANTE LYNCH,              :
INDIVIDUALLY AND AS A POLICE OFFICER FOR :
THE DARBY POLICE DEPARTMENT, BOROUGH :
OF DARBY POLICE OFFICER JAKE LYONES,     :
INDIVIDUALLY AND AS A POLICE OFFICER FOR :
 THE DARBY POLICE DEPARTMENT, AND JOHN :
DOES 1-10, INDIVIDUALLY AND AS POLICE    :
OFFICERS FOR THE COLLINGDALE AND DARBY :
BOROUGHS POLICE DEPARTMENTS              :
            Defendants.                  :


                                            ORDER

       AND NOW, this           day of                   , 2022, upon consideration of the Motion

to Dismiss Plaintiffs’ Complaint by the Defendants, Borough of Collingdale and Colin Richers,

pursuant to Federal Rule of Procedure 12(b)(6), 12(e) and 12(f) and Plaintiffs’ response thereto,

it is hereby ORDERED and DECREED that the Motion is GRANTED and the Complaint of

Plaintiffs is DISMISSED.

                                     BY THE COURT:


                                     ______________________________
                                     MICHAEL M. BAYLSON, U.S.D.J.
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                     IN THE UNITED STATES DISTRICT COURT
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OFFICERS FOR THE COLLINGDALE AND DARBY :
BOROUGHS POLICE DEPARTMENTS              :
                  Defendants.            :


MOTION OF DEFENDANTS, BOROUGH OF COLLINGDALE AND OFFICER COLIN
 RICHERS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT UNDER FEDERAL
           RULES OF CIVIL PROCEDURE 12(b)(6), 12 (f) and Rule 8

       Moving Defendants, Borough of Collingdale and Officer Colin Richers, by and through

their attorneys, Holsten Associates, P.C. and Suzanne McDonough, Esquire, pursuant to Federal

Rules of Civil Procedure 12(b)(6), 12(f) and Rule 8 respectfully, bring this Motion to Dismiss all

claims against the Borough of Collingdale and Officer Richers as to all Plaintiffs and submit the

attached Memorandum of Law in support thereof incorporated herein by reference.
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       For the reasons that follow, the Moving Defendants, Borough of Collingdale and Officer

Colin Richers, respectfully request that the Motion to Dismiss be granted and the proposed Order

entered or that alternative relief be granted under Rule 12(e). Oral argument is requested.

                                             Respectfully submitted,

                                             HOLSTEN ASSOCIATES, P.C.

                                     BY:     __Suzanne McDonough_______________
                                             SUZANNE MCDONOUGH, ESQUIRE
                                             Attorney for above named Defendants, Borough
                                             of Collingdale and Officer Colin Richers




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTINA DONAHUE, AS ADMINISTRATRIX     :
OF THE ESTATE OF ANGEL MCINTYRE,         :
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               Plaintiffs,               :
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DOES 1-10, INDIVIDUALLY AND AS POLICE    :
OFFICERS FOR THE COLLINGDALE AND DARBY :
BOROUGHS POLICE DEPARTMENTS              :
                  Defendants.            :


      MEMORANDUM OF LAW IN SUPPORT OF MOTION OF DEFENDANTS,
        BOROUGH OF COLLINGDALE AND OFFICER COLIN RICHERS,
      TO DISMISS PLAINTIFFS’ COMPLAINT UNDER FEDERAL RULES OF
               CIVIL PROCEDURE 12(b)(6), 12 (f) AND RULE 8

I.     INTRODUCTION AND FACTUAL BACKGROUND

       This is a federal civil rights action brought under 42 U.S. C. §1983 filed on May 3, 2022,

alleging a state created danger theory of liability against the Borough of Collingdale and their

Officer Colin Richers and another Borough and their Officers arising out of a police pursuit that

ended tragically in the death of Angel McIntyre and serious injury to Matthew Munafo when a

fleeing motorist hit their vehicle. There are also ancillary state negligence and intentional tort

claims asserted. The Complaint is attached hereto as Exhibit A.
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       The Complaint states that Officer Colin Richer was a Police Officer on duty for

Collingdale and saw a 2002 Ford Escape with a broken left brake light. (Ex. A. ¶¶21-22). When

Richer observed that vehicle then turn left at a red light, he activated his emergency lights to

initiate a traffic stop. (Ex. A, ¶¶21-22, 25). In response, the vehicle slowed down, crossed into

Darby and pulled into a McDonald’s parking lot. (Ex. A, ¶26). Richer followed the vehicle into

the parking lot, exited his vehicle and began to approach the then stopped vehicle. (Ex. A, ¶27).

Richer ordered Jones to turn off the Escape’s engine and exit the vehicle but in response he fled

forward from the parking lot. (Ex. A, ¶30). As Jones drove forward, Darby Borough Officers

Lyons and Lynch entered the parking lot to assist Richers. (Ex. A, ¶31).

       As the Escape was exiting the lot, the vehicle made contact with the front of Lyons’

police vehicle at a low rate of speed before continuing westbound on MacDade. (Ex. A, ¶32).

Officer Lynch immediately drove behind the vehicle with lights and sirens active. (Ex. A, ¶34).

The Escape began to accelerate and travel at a high rate of speed with Richers and Lyons’

respective vehicles following Officer Lynch’s vehicle in pursuit of the vehicle, all at a high rate

of speed. (Ex. A, ¶36). Plaintiffs allege that all Officers knew that there were young children in

the fleeing vehicle, an infant in the front seat and other young children in the rear and knew or

should have known they were without safety restraints. (Ex. A, ¶¶28, 33, 38). The fleeing

motorist, later identified as Jones, drove the Escape one mile at an increasingly high speed,

exceeding 80 miles an hour, and ran a red light at MacDade and Felton in Darby. (Ex. A, ¶41).

The pursuit continued for another mile before Jones ran a red light at MacDade and West Oak

Lane and struck the front passenger side of the vehicle driven by Matthew Manufo and occupied

by Angel McIntrye. (Ex. A, ¶¶46-47). McIntyre was pronounced dead at the scene of the

accident and Manufo was seriously injured. (Ex. A, ¶¶51, 54-55). The speed of the Escape was




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determined to be 84 to 94 mph on impact and it is alleged police were traveling at the same

speed to keep pace and/or to close in. (Ex. A, ¶¶49-50). Angel’s sister, Kristyanna, was in a

vehicle directly behind Matthew’s and witnessed the collision that killed her sister and also

feared she would be harmed by the collision. (Ex. A, ¶¶58-59). She ran to her sister before the

trailing Police Officers could exit their vehicles but was turned away by an Officer who yelled to

“Back away, this is a crime scene.” (Ex. A, ¶¶60- 61).

II.    STANDARD OF REVIEW

       The Federal Rules of Civil Procedure provide for the dismissal of an action for failure of

the pleading to “… state a claim upon which relief can be granted…” F.R.C.P. 12(b) (6). The

purpose of a Motion to Dismiss pursuant to the aforesaid Rule is to test the legal sufficiency of

Plaintiff’s Complaint. Sturm vs. Clark, 835 F.2d 1009, 1011 (3rd Cir 1987). In determining

whether to grant a Motion to Dismiss under this Rule, the court must accept “as true the facts

alleged in the Complaint and all reasonable inferences that can be drawn from them.” Unger vs.

National Residence Matching Program, 928 F.2d 1392, 1394-95 (3rd Cir. 1991).

       Dismissal is appropriate on a Motion to Dismiss under Federal Rule of Civil Procedure

12(b)(6) if, reading the Complaint in the light most favorable to the Plaintiff, and accepting all

factual allegations as true, no relief could be granted under any “reasonable reading of the

Complaint.” Phillips v. County of Allegheny, 515 F.3d 224, 233 (3d Cir.2008). It is well settled

that a Complaint must be dismissed even if the claim to relief is “conceivable,” because a

Plaintiff must allege “enough facts to state a claim to relief that is plausible on its face.” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “A

claim has facial plausibility when the Plaintiff pleads factual content that allows the court to




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draw the reasonable inference that the Defendant is liable for the misconduct alleged.” Ashcroft

v. Iqbal, --- U.S. ----, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009).

       While the Court will accept well-pleaded facts as true for the purpose of the Motion, “a

Court need not credit a Complaint’s bald assertions or legal conclusions when deciding a Motion

to Dismiss.” Morse vs. Lower Merion School District, 132 F.3d 902, 906 (3rd Cir. 1987).

(citations omitted). To prevent dismissal, all civil complaints must now set out ‘sufficient factual

matter’ to show that the claim is facially plausible.” Fowler v. UPMC Shadyside, 578 F.3d 203,

210 (3d Cir. 2009), quoting Iqbal, 556 U.S. at 678. Accordingly, in ruling upon a Motion under

F.R.C.P. 12(b)(6), the Courts consistently reject “legal conclusions”, “unsupported conclusions”,

“unwarranted inferences”, “unwarranted deductions”, or “sweeping legal conclusions cast in the

form of factual allegations.” Id. at 906(n) (8).

III.   ARGUMENT

       A. MOTION TO STRIKE SCURRILOUS, IMPERTINENT MATTER

       Under Rule 12(f), a Court "may strike from a pleading an insufficient defense or any

redundant, immaterial, impertinent, or scandalous matter." Fed. R. Civ. P. 12(f). The purpose of

a motion to strike is to clean up the pleadings, streamline litigation, and avoid unnecessary forays

into immaterial matters." Zaloga v. Provident Life & Acc. Ins. Co. of Am., 671 F. Supp. 2d.

623, 633 (M.D. Pa. 2009). "Immaterial matter is that which has no essential or important

relationship to the claim for relief . . . Scandalous matter has been defined as that which

improperly casts a derogatory light on someone, most typically on a party to the action." Id.

Motions to strike are decided on the pleadings alone. Id. The Court will strike allegations that

have no possible relation to the controversy and may cause prejudice to one of the parties, or if

the allegations confuse the issues. N. Penn. Transfer, Inc. v. Victaulic Co. of Am., 859 F. Supp.




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154, 158-59 (E.D. Pa.1994)). Impertinent matter is that which does not pertain or is unnecessary

to the issues in question. Donnelly v. Commonwealth Fin. Sys., Inc. No. 3:07-CV-1881, 2008

WL 762085, at *4 (M.D. Pa. Mar. 20, 2008). Whereas, immateriality is generally defined as

“any matter having no value in developing the issues of a case. In re Catanella & E.F. Hutton &

Co., Inc. Sec. Litig., 583 F. Supp. 1388, 1400 (E.D. Pa. 1984). While Motions to Strike are not

favored, they are appropriate where “…the allegations have no possible relation to the

controversy and may cause prejudice to one of the parties, or if the allegations confuse the issues

in the case. Natale v. Winthrop Res. Corp., 2008 WL 2758238, at *14 (E.D. Pa. 2008).

         Here, the first 17 pages of the Complaint, paragraphs 1 through 87, are alleged to be

“Factual Allegations.” Right from the start there are allegations in these paragraphs about

children alleged to be in the fleeing vehicle, allegations as to what Officers involved in the

pursuit allegedly knew about them, the likelihood of injuring them, and alleged trauma that was

caused to these children who are notably not plaintiffs in the pursuit. 1 The paragraphs at issue

are 23, 24, 28, 30, 38, 39, 42 and 43. Next, in paragraphs 65 to 72, Plaintiffs cite to state statutes

concerning Pennsylvania State Police reports on vehicle pursuits and statistics unrelated to this

litigation and which could not be considered facts in this case or related to this litigation and

which should not need to be responded to by answering defendants who have no data so as to

know if they are even accurate. Clearly these types of allegations have no place in a short and

concise summary of the facts of this particular case that does not involve the State Police or

anything related to their regulations.

         Next are Paragraphs 74 to 78 that contain no facts but are expansive opinions and

conclusions of Plaintiffs through their counsel citing to statutes, alleged guidelines and policies


1
  Awareness of children in the fleeing vehicle is categorically denied but at this stage must be accepted as true and
thus the Motion to Strike the allegations.


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that they allege should have been adopted or followed, quoting verbatim and prolifically from

City of Philadelphia Police Directives 9.4, et seq. presumably obtained through a pending

unrelated lawsuit before Judge Surrick against the City of Philadelphia, Clark v. Merrell, 19-

1579, where all the City directives cited are included with the Clark complaint which actually

involves such directives. The allegations citing to the City Directives at great length in multiple

paragraphs are wholly irrelevant to the lawsuit against the Borough of Collingdale, are mere

opinions and conclusions of the Plaintiffs who essentially adopt the City of Philadelphia

Directives and then set them forth as “facts” to which answering Borough individual and

municipal defendants are expected to respond. There is no allegation that the City Directives

quoted from Clark are, or ever were, the policies or directives of either of the Boroughs in this

case and the allegations simply do not belong in the Complaint. Finally, the Plaintiffs go on in

paragraphs 80 to 85 to allege that the Defendants “violated established model vehicle pursuit

policies” and again cite to the City of Philadelphia Directives specifically in paragraphs 84 and

85 as if they are controlling law of the case. Again, this type of pleading citing irrelevant

Directives is not a short and concise summary of the facts of the case, and moreover, are not

facts at all but rather impertinent, irrelevant material designed to prejudice the defense.

Therefore, Moving Defendants request that the Complaint be dismissed and any amended

pleading not include the objectionable paragraphs or the offensive allegations couched as

“facts” of this case.

           B. MOTION TO DISMISS AS VIOLATIVE OF RULE 8

           Under Federal Rule of Civil Procedure 8(a)(2), "[a]pleading that states a claim for relief

must contain a short and plain statement of the claim showing that the pleader is entitled to

relief."    This Complaint is not the short or plain statement envisioned and the claims are




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conclusory containing extraneous, irrelevant information which complicates the parties’ ability

to understand the claims and particularly difficult for the individual defendant to understand the

allegations against him so as to frame a qualified immunity defense to which he is entitled to do

early on. The Rule requires that “Each allegation must be simple, concise, and direct." Fed. R.

Civ. P. 8(d)(1); Scibelli v. Lebanon Cnty., 219 F. App'x 221, 222 (3d Cir. 2007). "Taken

together," Rules 8(a) and 8(d)(1) "underscore the emphasis placed on clarity and brevity by the

federal pleading rules." Binsack v. Lackawanna Cty. Prison, 438 F. App'x 158, 160 (3d Cir.

2011) (citing In re: Westinghouse Sec. Litig., 90 F.3d 696, 702 (3d Cir. 1996) (citation

omitted)). For the same reasons as set forth in the Motion to Strike, clearly the allegations in this

Complaint are redundant, conclusory, and include personal opinions about the Defendants'

alleged knowledge and motivations and quote extraneous matter that is inappropriate to the case.

       C. MOTION TO DISMISS COUNT I - 14TH AMENDMENT SUBSTANTIVE DUE
          PROCESS CLAIM - AGAINST OFFICER COLIN RICHERS

       In Count I, Plaintiffs charge Officer Richers in his individual and official capacity of

violating constitutional rights of the Plaintiffs under 42 U.S.C. §1983. In support of this claim,

in paragraphs 90 through 94, Plaintiffs allege that the Officer initiated an improper vehicle

pursuit that lasted for more than two miles, at speeds exceeding 80 to 90 miles per hour, on a

busy road, and that the pursuit was initiated and continued based upon “mere traffic violations”

involving a non-functioning light and going through a red light. (Ex. A, ¶¶90-91). The only

other additional facts from the Complaint reveal that the motorist was actually stopped for the

brake light at the McDonald’s by Officer Richers, but when the Officer approached that vehicle,

the operator fled onto MacDade Blvd. after striking a Borough of Darby occupied Police vehicle

on its way over and sped off at a high rate of speed. (Ex. A, ¶¶27-33). Accepting as true,

Plaintiffs’ distance and speed calculations for this motion (2 miles at 80-90 mph), the entirety of



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the pursuit before the tragic accident, in which no police vehicle is said to have been involved,

was 80 to 90 seconds. Other than a conclusory opinion that the road was busy after 1 a.m. on

that morning, there is no support for that claim other than the presence of the two Plaintiffs’

vehicles at the accident intersection, one of which was not involved in the accident. Much is

made of the Plaintiffs’ claim that the pursuit “continued” when Officer Defendants “knew or

should have known” that there were young children and an infant in the vehicle being pursued,

and further that two of these three minors (one of the children seated in a rear seat of the Escape

and an infant seated on the lap of the front seat passenger) were unrestrained in the vehicle as

they were not in proper child/infant car seats. However, the occupants of the fleeing vehicle are

not plaintiffs/parties in the lawsuit and allegations concerning them do not lend any support to

Plaintiffs’ allegations about an unconstitutional pursuit in which the fleeing motorist struck the

vehicle with his while eluding the police after having left the scene of an accident. Clearly, the

objective of the Plaintiffs is to craft a rule of law that Officers are vicariously liable for the

unconscionable behavior of a fleeing motorist, particularly incredulous given Plaintiffs’

allegations concerning the children within the vehicle, more indicative of the dangerous mindset

of the motorist eluding the police and willing to sacrifice the children when a normal motorist

would have had more reason to stop for the police.

       Specifically, Plaintiffs claim that Richers violated Plaintiffs’ substantive due process

rights under a "state-created danger" theory of liability. The Court of Appeals for the Third

Circuit, applying Lewis, has upheld denials of substantive due process claims brought by an

innocent bystander injured during a police vehicular pursuit. Davis v. Township of Hillside, 190

F.3d 167 (3d Cir. 1999); Fagan v. City of Vineland, 22 F.3d 1296, 1299-1300, 1307-08 (3d Cir.

1994) (en banc)(majority opinion utilizes the shocks the conscience standard).




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        The Third Circuit applies a four-part test for determining whether a plaintiff has raised a

viable state-created danger claim, i.e., a municipal entity may be held liable for the constitutional

violations of its employees if: (1) the harm suffered was foreseeable and fairly direct; (2) the

individual acted with "a degree of culpability that shocks the conscience"; (3) some relationship

existed between the government and the plaintiff which made the plaintiff a foreseeable victim,

not just a member of the general public; and (4) the affirmative use of authority in some way

created the danger or made others more vulnerable than if the government actor had not acted.

Johnson v. City of Phila., 975 F.3d 394, 400,403 (3d Cir. 2020) (citing Sauers v. Borough of

Nesquehoning, 905 F.3d 711, 717 (3d Cir. 2018). In this case, the Plaintiffs must demonstrate

that the conduct of the Officer was “so egregious, so outrageous that it may fairly be said to

shock the contemporary conscience.” Cty. Of Sacramento v. Lewis, 523, U.S. 833, 847 n. 8

(1998)2. Given the circumstances of the “high-speed automobile chase aimed at apprehending a

suspected offender” plaintiffs must show “a purpose to cause harm unrelated to the legitimate

object of arrest.” Id. At 836.

        Plaintiffs’ Complaint does not allege that Officer Richers had any intent or purpose to

cause this unrelated harm and there are no facts that could support such a theory. "[T]he level of

culpability required to shock the conscience increases as the time state actors have to deliberate

decreases." Sanford v. Stiles, 456 F.3d 298, 306 (3d Cir. 2006)). "[A]lthough intent to cause

harm must be found in a 'hyperpressurized environment,' where officials are afforded the luxury

of a greater degree of deliberation and have time to make 'unhurried judgments,' deliberate

indifference is sufficient to support an allegation of culpability." Id. (emphasis in original)

(quoting Sanford, 456 F.3d at 306). ... In between these two extremes lies an intermediate


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 The pursuit in Lewis involved 1.3 miles and 70 seconds at 8:30 in the evening and involved the Officer striking the
vehicle.


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standard: "[W]here the circumstances require a state actor to make something less exigent than a

'split-second' decision but more urgent than an 'unhurried judgment,' i.e., a state actor is required

to act 'in a matter of hours or minutes,' a court must consider whether a defendant disregarded a

'great risk of serious harm rather than a substantial risk.'" Id. (quoting Sanford, 456 F.3d at 306);

see Johnson v. City of Philadelphia, 975 F.3d 394, 401 (3d Cir. 2020).

       There are no facts here that Officer Richers’ vehicle was the first car pursing the vehicle

after the offender’s accident with the police vehicle at the point at which he began his

dangerously high-speed flight, no information as to how far behind the vehicle Richers’ vehicle

was and there is no claim that Richers did not have lights or sirens on or that he was operating

his vehicle recklessly in any way or caused any collision. The allegations are limited to Richers

simply being in the pursuit itself at the speed and distance alleged. On the basis of the facts

alleged, Plaintiffs’ claim that Richers’ conduct shocks the conscience must be rejected and there

is no viable state-created danger claim.      Even under the most liberal standard that could

conceivably be based on the Sauer decision, Plaintiffs do not state a cause of action for an

unlawful unconstitutional police chase, and to hold otherwise would prevent police from ever

pursing fleeing suspects should they drive dangerously away from the police. To assume that the

accident would not have occurred if the police had gone away or become invisible to the motorist

once he fled the McDonald’s parking lot and that in those 70 seconds the fleeing motorist would

have ceased his high speed flight is baseless conjecture.

       D. ALL OFFICIAL CAPACITY CLAIMS AGAINST OFFICER RICHERS
          SHOULD BE DISMISSED

       Officer Richers moves to dismiss the claims against him in his official capacity on the

basis that public officials named in their official capacities are not persons within the meaning of

§1983 and these claims are in essence claims against the municipality that are appropriately



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addressed in a municipal liability claim against the Borough under the requirements of Monell v.

New York City Department of Social Services, 436 U.S. 658 (1978) and are redundant,                   "It

is not a suit against the official personally, for the real party in interest is the entity." Kentucky v.

Graham, 473 U.S. 159, 166 (1985). It "is functionally a suit against the public entity that

employs them," and therefore redundant. Cuvo v. De Biasi, 169 F.App'x 688. 693 (3d Cir. 2006)

(affirming dismissal of duplicative claims).

        E. OFFICER RICHERS IS ENTITLED TO DISMISSAL OF THE ACTION
           BASED ON QUALIFIED IMMUNITY

        Under the facts and law of this case, Officer Richers is entitled to qualified immunity for

any mistakes in judgment or miscalculations involved in this case even if a constitutional

violation were to be found. The Third Circuit in Sauers v. Borough of Nesquehoning, 905 F.3d

711 (3d Cir. 2018), provided little guidance to Police Officers involved in making police pursuits

in general but specifically only addresses situations where there are unhurried decisions and a

dangerous pursuit initiated by an Officer, not the suspect, and where the operation of the police

vehicle was itself reckless and caused, and was involved in, the accident. The Court did not, and

could not, change the controlling law of Cnty. of Sacramento v. Lewis, 523 U.S. 833, 854

(1998), applicable to this case that requires conscious shocking behavior and an intent to harm on

the part of the Officer even when viewed under the Sauers rationale.

        In the Sauers case, unlike the present case, the offender was not even fleeing from the

police nor driving through the street at a dangerously high rate of speed. On the contrary, it was

the Officer in Sauers who was inexplicably operating his vehicle at speeds over 100 mph to try to

catch up with a summary offender who did not even know he was being pursued by the Officer.

In sharp contrast, in this case, unlike in Sauers, the motorist knew he was being pursued by

Officer Richers, initially stopped and then engaged in bizarre and active flight behavior fleeing



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the scene of an accident in the McDonald’s parking lot after hitting a police cruiser and fleeing at

a high speed onto MacDade Boulevard. Neither the Collingdale Officer, nor any other, unlike in

Sauers, operated a police vehicle in a manner that demonstrated a conscious disregard of a great

risk of serious harm and no police vehicle was involved in the tragic accident in this case in any

way. The facts and situation involved in Sauers are totally inapposite, and no reasonable police

officer would have believed that the pursuit in this circumstance of the fleeing motorist operating

his vehicle at the dangerous speed was unlawful.

          It is well settled in Supreme Court precedent that "high-speed chases with no intent to

harm suspects physically or to worsen their legal plight do not give rise to liability under the

Fourteenth Amendment, redressible by action under §1983." Cnty. of Sacramento v. Lewis, 523

U.S. 833, 854 (1998). A year later, the Third Circuit similarly held that "[t]he critical factor in

determining whether Fourteenth Amendment liability for a high-speed chase may be imposed is

whether the officer's conduct can be found to shock the conscience, for which the evidence must

show intent to harm the suspect physically." Davis v. Twp. of Hillside, 190 F.3d 167, 171 (3d

Cir. 1999) (emphasis added). As previously mentioned, none of Plaintiffs’ allegations with

respect to the Officer's conduct rise to the level of actions that "shocks the conscience" or are

suggestive of the required specific intent to harm, rather than a generalized risk of harm to the

public.

          A clearly established right is one that is so apparent that “every reasonable official would

understand that what he is doing is unlawful.” James v. N.J. State Police, 957 F.3d 165, 169 (3d

Cir. 2020) (citing Dist. of Columbia v. Wesby, 138 S. Ct. 577, 589 (2018)). Absent existing

precedent that places “the statutory or constitutional question beyond debate,” James v. N.J.

State Police, 957 F.3d 165, 169 (3d Cir. 2020) (citing Dist. of Columbia v. Wesby, 138 S. Ct.




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577, 589 (2018)). Indeed, the right must be defined with a “high ‘degree of specificity’” to be

clearly established. Wesby, Supra at 590 (quoting Mullenix v. Luna, 577 U.S. 7, 13 (2015) (per

curiam)). The Supreme Court has issued several decisions in the past few years warning courts

against defining clearly established law at a high level of generality. Brosseau v. Haugen, 543

U.S. 194 (2004); Mullenix v. Luna, 136 S. Ct. 305 (2015). Thus, only controlling precedent in

the relevant jurisdiction can place a constitutional question beyond debate. Wilson v. Layne, 526

U.S. 603, 617 (1999). In this case, conscious shocking behavior and an intent to harm must be

manifested, and no facts in this case would support denying qualified immunity to Officer

Richers.

       F. PLAINTIFFS FAIL TO SET FORTH A VIABLE MUNICIPAL LIABILITY
          CLAIM IN COUNT II

       Simply setting forth broad allegations as to "other similar incidents" involving defendants

are "patently speculative" and conclusory and insufficient and conclusory allegations regarding a

failure to train, supervise, discipline, or terminate officers, simply alleging past similar violations

of constitutional rights are also insufficient to state a Monell claim where plaintiffs, as here, do

not specify what exactly the custom or policy was that allegedly caused the injuries, did not

identify the relevant municipal decision maker responsible for that policy, and have not alleged

facts to show a pattern of similar violations by untrained employees); Collins v. Borough of

Trainer, No. 13-cv-7613, 2014 U.S. Dist. LEXIS 89233, 2014 WL 2978312, at *5 (E.D. Pa. July

1, 2014) (finding that complaint only plead conclusory allegations insufficient to state

a Monell claim where plaintiff alleged that "Defendants developed and maintained policies,

practices, procedures and customs exhibiting deliberate indifference to the Constitutional rights

of persons . . . which caused violations of Plaintiff's constitutional and other rights as




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aforesaid."). See also Jacobs v. Palmer, No. 14-cv-5797, 2015 U.S. Dist. LEXIS 28853, @015

WL 1033294, at *5-6 (E.D. Pa. Mar. 10, 2015), Opinions of Baylson, J.

       The operative paragraphs of Count II charge:

       “99.    Prior to July 16, 2020, it was a de facto policy, practice, and/or custom of the
Municipal Defendants, through their respective police departments, chiefs of police, mayors, and
borough counsels, to inadequately supervise and train their police officers, including the Police
Officer Defendants, concerning adequate vehicle pursuit policies and practices, thereby failing to
adequately discourage constitutional violations on the part of their police officers. Upon
information and belief, the Municipal Defendants did not require appropriate in-service training
or re-training of police officers who were known to engage in improper, intentional, willful,
reckless, and/or negligent vehicle pursuits.

        100. It was the de facto policy, practice, and/or custom of the Municipal Defendants,
through their respective police departments, chiefs of police, mayors, and borough councils, to
inadequately supervise and train their police officers, including the Police Officer Defendants,
to intervene and/or report constitutional violations and misconduct committed by their fellow
police officers.

        101. The Municipal Defendants, acting through their respective police departments,
chiefs of police, mayors, and borough councils, have adopted and continue to maintain a
recognized and accepted policy, custom, and/or practice of systematically engaging in dangerous
and improper vehicle pursuits, without regard to the model and accepted vehicle pursuit policies
and guidelines, which conduct has resulted in subjecting other persons, including innocent
bystanders like Plaintiffs, to unjustifiable risks of property damage, personal injury, and death.

        102. The Municipal Defendants, acting through their respective police departments,
chiefs of police, mayors, and borough councils, were fully aware of the dangers posed by
vehicle pursuits and the resultant need for proper training and supervision of their police
officers, but the Municipal Defendants were deliberately indifferent to those risks and failed to
properly train and supervise their police officers regarding those risks.

        103. As a result of the above-described practices, policies, and/or customs, the


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Municipal Defendants' respective police officers, including the Police Officer Defendants,
believed that their actions would not be properly monitored by supervisory police officers and/or
other employees of the Municipal Defendants, and that this improper conduct would not be
investigated or sanctioned, but would be tolerated and condoned by the Municipal Defendants.”

       Municipal liability under 42 U.S.C. §1983 is governed by Monell v. Department of

Social Services, 436 U.S. 658 (1978). In this case, Plaintiffs have not pled sufficient facts to

establish that a municipal policy or custom was the cause of the alleged constitutional violations.

To properly plead a Monell claim, a plaintiff must allege sufficient facts showing that a

municipal policymaker established a policy or custom that was the moving force behind the

constitutional violation experienced. See Monell, 436 U.S. at 694. A policy is only made when a

decision-maker with final authority to establish municipal policy issues an official proclamation,

policy, or edict. Wright v. City of Philadelphia, 685 Fed. Appx. 142, 146 (3d Cir.

2017) (citing Andrews v. Philadelphia, 895 F.2d 1469, 1480 (3d Cir. 1990)). Custom, however,

is not specifically endorsed or authorized by law. Id. Rather, custom results from policymakers'

"acquiescence in a longstanding practice or custom, which constitutes the `standard operating

procedure' of the local government entity." Id. (quoting Jett v. Dallas Indep. Sch. Dist., 491 U.S.

701, 737 (1989). There are no facts asserted in this regard and all we are given are broad

unsupported conclusions.

        To establish municipal liability under §1983 based on a failure-to-train theory, a plaintiff

“must identify a failure to provide specific training that has a causal nexus with [his] injuries and

must demonstrate that the absence of that specific training can reasonably be said to reflect a

deliberate indifference to whether the alleged constitutional deprivations occurred.” Gilles v.

Davis, 427 F.3d 197, 207 n.7 (3d Cir. 2005) (quoting Reitz v. Cnty. of Bucks, 125 F.3d 139, 145

(3d Cir. 1997)). “‘[D]eliberate indifference’ is a stringent standard of fault, requiring proof that a



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municipal actor disregarded a known or obvious consequence of his action.” Connick, 131 S. Ct.

at 1360 (citation omitted).

       However, where, as here, there is an absence of factual assertions concerning the specific

type of training allegedly not provided, and how this was causally related to the constitutional

injury, the claim is deficient as a matter of law. See Bradshaw v. Twp. of Middleton, 145 F.

App’x 763, 768 (3d Cir. 2005) (affirming the dismissal of a §1983 failure-to-train claim where

plaintiffs failed to “identify any examples of specific training that the Township failed to

provide,” and it therefore could not “be said that the need for more or additional training [was] so

obvious as to constitute deliberate indifference on the part of the Township”); Pahler v. City of

Wilkes-Barre, 31 F. App’x 69, 72 (3d Cir. 2002) (affirming the dismissal of a §1983 failure-to-

train claim where the plaintiff “ma[de] no allegation that establishe[d] his injuries were ca[u]sed

by the defendants’ deliberately indifferent failure to train the City’s officers”); See also Grazier

ex rel. White v. City of Philadelphia, 328 F.3d 120,125 (3rd Cir. 2003).

       In Grazier, the Court noted that it would be insufficient to prove that the injury may have

been averted if an officer had better or more training. Rather, the Court noted, it was necessary

for liability to be premised upon an identified deficiency in the training program closely related

to the ultimate injury. Id. In Carswell v. Borough of Homestead, 381 F.3d 235, 244 (3d

Cir.2004), the Third Circuit held that in a failure to train claim a plaintiff is obligated to identify

a municipal policy or custom that amounts to deliberate indifference, which typically requires

proof of a pattern of underlying constitutional violations, and must also demonstrate that the

inadequate training caused a constitutional violation. See also Small v. City of Philadelphia 2007

WL 674629, 9 (E.D.Pa.). There is no factual predicate in this case that would meet this test.




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        Therefore, the claim against the municipality cannot stand. Further, there are no specific

factual averments concerning the conclusion of prior misconduct by Officer Richers or any other

Collingdale Officer. There is no assertion that Richers was not properly trained and certified as a

graduate of a Pennsylvania police academy, or that Richers did not have the MPOETC training

as required by Pennsylvania State law with yearly updates on law and proper police practice or

that his credentials were ever revoked.

        In Pennsylvania, Municipal Police are trained and certified under the Municipal Police

Officer Education and Training Commission (“MPOETC”). See 37 Pa. Code §203.11(a)(1)-

(11). This training that requires graduation from an accredited police academy is followed by

yearly mandatory training by the Commonwealth Commission. See Id. §203.13(b)(1); Id.

§203.13(c)(1); Id. §203.52. Here, there is no specification as to what different training was

constitutionally required, and Plaintiffs fail to state a viable municipal liability claim.

        G. STATE LAW NEGLIGENCE CLAIMS IN COUNTS III AND V ARE
           BARRED BY GOVERNMENTAL IMMUNITY

        Under the governing law of the Commonwealth for state law claims, the Political

Subdivision Tort Claims Act (“Tort Claims Act”), 42 Pa.C.S. §§8541-8542, a local

governmental agency is generally immune from liability in tort for damages caused by its acts or

the acts of its officials and employees. 42 Pa.C.S. §8541. The Legislature has waived this grant

of immunity only when two distinct conditions are satisfied: (1) the damages would be

recoverable under statutory or common law against a person unprotected by governmental

immunity; and (2) the negligent act of the local agency or its employees which caused the injury

falls within one of enumerated exceptions to immunity. 42 Pa.C.S. §8542(a).5 See generally

White v. School District of Philadelphia, 718 A.2d 778, 779 (Pa. 1998). For purposes of

governmental immunity, the term “negligent acts” does not include “acts or conduct which



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constitutes a crime, actual fraud, actual malice or willful misconduct.” 42 Pa.C.S. §8542(a)(2). 3

The allegations of negligence set forth in the Complaint in paragraph 107 as to Richers are:

            a. Engaging in a high-speed pursuit when the Police Officer Defendants knew or
               should have known that the potential for serious bodily injury outweighed any
               government interest;

            b. Initiating the pursuit when the Police Officer Defendants knew or should have
               known that the potential for harm, danger, and/or serious bodily injury outweighed
               the seriousness of the traffic offenses that Officer Richers witnessed Jones commit;

            c. Failing to consider roadway conditions and time of day when initiating and
               continuing the pursuit;

            d. Failing to recognize and use alternative means to apprehend Jones;

            e. Failing to appropriately coordinate the apprehension of Jones amongst all Police
               Officer Defendants and with other members of the Municipal Defendants'
               respective police departments;

            f. Failing to appropriately coordinate, initiate, continue, and/or terminate an
               interjurisdictional pursuit;

            g. Failing to take reasonable action to increase the likelihood that MacDade Boulevard
               and any intersecting roads would be clear of traffic in the area of the pursuit;

            h. Failing to keep a proper lookout on the roadway for potential hazards to the vehicles
               that the Police Officer Defendants operated and to the subject of their pursuit;

            i.   Driving at excessive speeds and by continuing the pursuit which encouraged Jones to
                 continue fleeing in his respective vehicle (thereby prolonging the pursuit);

            J. Failing to use all auditory and visual alert systems, including vehicle horns, at the
               Police Officer Defendants' disposal to alert other vehicles nearby, including the
               vehicles that Plaintiffs were travelling in, of the pursuit;

            k. Failing to terminate the pursuit when the Police Officer Defendants knew or should
               have known that the potential for serious bodily injury outweighed any government
               interest;


3
  The recognized exceptions are following: (1) vehicle liability; (2) the care, custody, or control
of personal property; (3) the care, custody, or control of real property in the possession of the
local agency; (4) trees, traffic controls and street lighting; (5) utility service facilities; (6) streets;
(7) sidewalks; and (8) the care, custody, or control of animals. 42 Pa.C.S. §8542(b)(1)-(8).



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           1. Failing to timely communicate facts about the nature and location of the pursuit to
              the Police Officer Defendants' respective police departments and supervising
              officers;

           m. Failing to follow, adhere to, and apply police department policies and guidelines
              regarding the initiation, continuance, and termination of a pursuit and safety during a
              pursuit;

           n. Failing to understand and/or follow the commands of the Police Officer
              Defendants' respective supervising officers concerning the pursuit and
              apprehension of Jones;

           o. Operating their police motor vehicles without due regard to the rights, safety, and
              position of surrounding vehicles, like those that Plaintiffs were travelling in; and,

           p. Violating the statutes of the Commonwealth of Pennsylvania governing the operation
              of motor vehicles on streets and highways, specifically, 75 Pa. C.S. §§ 3301, et seq.,
              and 3716.

         None of the averments contain actual facts supporting the conclusions and none involve the

operation of the motor vehicle by the Officer which is a prerequisite for stating a cause of action

under the motor vehicle exception to the Tort Claims Act but involve only claims of negligent

decision making. There is no averment that Officer Richers was not using lights and sirens, that he

did not have his patrol vehicle under control or that he used any type of police maneuver to cause an

accident or lacked permission to pursue the offender. There is also no argument that he violated any

local or state law or the policies or directives of the Borough. Jewell v. Ridley Twp., 497 Fed.

Appx. 182 (3d Cir. 2012), affirming summary judgment for Ridley Township finding that the

pursuit was appropriate and Officers were not negligent despite catastrophic injury to an

innocent automobile passenger injured by the fleeing offender’s vehicle.           Therefore, he is

immune from this negligence action. These same allegations against the Officer are made

against the municipality in Count V (vicarious liability) which is not a separate cause of action

and fails for the same reasons. Further, Richers would be entitled to the defense of official

immunity from suit because his actions were within the course and scope of his employment as a



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Police Officer. The Tort Claims Act grants employees immunity from suit for their official acts.

See 42 Pa. C.S. § 8546.


        § 8546. Defense of official immunity provides:

       In any action brought against an employee of a local agency for damages on account of
       an injury to a person or property based upon claims arising from, or reasonably related to,
       the office or the performance of the duties of the employee, the employee may assert on
       his own behalf, or the local agency may assert on his behalf:
       (1) Defenses which are available at common law to the employee.
       (2) The defense that the conduct of the employee which gave rise to the claim was
       authorized or required by law, or that he in good faith reasonably believed the conduct
       was authorized or required by law.
       (3) The defense that the act of the employee which gave rise to the claim was within the
       policymaking discretion granted to the employee by law. For purposes of this subsection,
       all acts of members of the governing body of a local agency or of the chief executive
       officer thereof are deemed to be within the policymaking discretion granted to such
       person by law.

       The only exception to the immunity would be in §8550 of the Judicial Code governing

actions where willful misconduct of a local agency’s employee is asserted. That section states:

                In any action against a local agency or employee thereof for damages on account
       of an injury caused by the act of the employee in which it is judicially determined that the
       act of the employee caused the injury and that such act constituted a crime, actual fraud,
       actual malice or willful misconduct, the provisions of sections 8545 (relating to official
       liability generally), 8546 (relating to defense of official immunity), 8548 (relating to
       indemnity) and 8549 (relating to limitation on damages) shall not apply.

       Under 42 Pa.C.S. §8550, “willful misconduct” is construed to mean “willful misconduct

aforethought” and is synonymous with “intentional tort.” Orange Stones Co. v. City of Reading,

87 A.3d 1014, 1023 (Pa. Cmwlth. 2014) (citations omitted). It is well-settled that where a

plaintiff has averred willful misconduct on the part of local agency employees, section

8542(a)(2) of the Tort Claims Act, 42 Pa.C.S. §8542(a)(2), bars recovery from the local agency

because liability may be imposed on a local agency only for negligent acts. In addition, §8550 of

the [Judicial Code], 42 Pa.C.S. §8550, does not create an exception to §8542(a)(2), and, as a

result, a local agency may not be held liable for the willful misconduct of its employees. In order


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to overcome the defense of governmental immunity, a plaintiff's claims against a local agency

must sound in negligence and must fall within one of the eight enumerated exceptions to local

agency immunity set forth in §8542(b) of the Tort Claims Act, 42 Pa.C.S. §8542(b). Orange

Stones, supra at 1022 (emphasis added) (citations omitted). In this case, there is no factual

pattern that could conceivably suggest that the Officer was engaged in intentional or willful

misconduct and the negligence action should be dismissed.

       Therefore, both the employee and the municipality are entitled to immunity from liability

in this where there was no negligent operation of the vehicle and where the employee is entitled

to official immunity.

       H. THERE IS NO RECOGNIZED TORT IN PENNSYVLANIA FOR
          RECKLESS DISREGARD OF SAFETY AS ALLEGED IN COUNT IV

       As a matter of law, under Pennsylvania law, recklessness is not a separate tort, and there

is no tort recognized under the Restatement (Second) of Torts § 500 for reckless regard for safety

as is alleged in Count IV of the Complaint. See Archibald v. Kemble, 971 A.2d 513, 518-19 (Pa.

Super. Ct. 2009), allocatur denied, 989 A.2d 914 (2010).          Recklessness has never been

considered as a separate tort. See Archibald v. Kemble, supra. ("[The trial judge] erred in

concluding that [the plaintiff’s cause of action [a recklessness claim] was not subsumed within

the negligence count pled in their Complaint."); M.U. v. Downingtown High Sch. East, 103 F.

Supp. 3d 612, 629 (E.D. Pa. 2015). Nor does the immunity statute recognize such claims as a

separate cause of action. 42 P.S. §8541, et seq. Under the Restatement, Courts utilize the theory

in determining issues of wanton and willful misconduct but not as a separate tort. See Archibald

v. Kemble, supra.




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       I. PLAINTIFF FAILS TO STATE A CAUSE OF ACTION FOR MUNICIPAL
          LIABILITY IN COUNT VI

       The Political Subdivision Tort Claims Act does not permit claims for municipal liability

akin to Monell type liability claims such as failures or deficiencies in policies, practices, training

and supervision and such fail to state a cause of action against the governmental entity as a

matter of law. Pennsylvania courts have consistently rejected arguments that claims involving

negligent supervision, failure to supervise or negligent policies and procedures fall within an

exception to local government immunity. See Mascaro v. Youth Study Ctr., 514 Pa. 351, 523

A.2d 1118 (1987); Farber v. Pennsbury Sch. Dist., 131 Pa. Commw. 642, 571 A.2d 546 (1990).

       J. COUNTS VII AND VIII FOR WRONGFUL DEATH AND SURVIVAL ARE
          NOT SEPARATE CAUSES OF ACTION

       "Wrongful death and survival act claims are not substantive causes of action; rather, they

provide a means of recovery for unlawful conduct that results in death." Sullivan v. Warminster

Twp., 2010 WL 2164520, at *6 (E.D. Pa. May 27, 2010); see 42 Pa. Cons. Stat. Ann. § 8301(a)

("An action may be brought . . . to recover damages for the death of an individual caused by the

wrongful act or neglect or unlawful violence or negligence of another if no recovery for the same

damages claimed in the wrongful death action was obtained by the injured individual during his

lifetime and any prior actions for the same injuries are consolidated with the wrongful death

claim so as to avoid a duplicate recovery"); 42 Pa. Cons. Stat. Ann. § 8302 ("All causes of action

or proceedings, real or personal, shall survive the death of the plaintiff or of the defendant, or the

death of one or more joint plaintiffs or defendants."). Therefore, as the statutory claims are not

causes of action, the separate Counts pled by Plaintiffs should be dismissed as the allegations are

only pertinent to damages recoverable under the statutes.




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       K. COUNT IX CLAIMS OF KRISTYANNA DELLAVECCCHIA FOR
          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS AND IN COUNT X
          FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS ARE
          BARRED BY THE TORT CLAIMS ACT

       Plaintiff Kristyanna Dellavecchia’s claims for negligent and intentional infliction of

emotional distress are not cognizable under the Tort Claims Act.4 There are no facts that would

support any claims of intentional torts committed by Officer Richers and no facts that would

invalidate his defense of official immunity. She was not involved in the motor vehicle accident

and her claims do not fall within any of the narrow exceptions to the Tort Claims Act, and there

is no factual basis for any claim of willful misconduct under §8550 of the Act as previously

outlined at length in section G infra. Therefore, these claims must be dismissed.

IV.    CONCLUSION

       For the reasons which are set forth more fully above, the Borough of Collingdale and

Officer Colin Richers, respectfully request that the Court grant the Motion and dismiss the action

against the Borough of Collingdale and Officer Colin Richers or grant such alternative relief as

the Court deems just and warranted under the circumstances.




       4
          There is a suggestion that there was a conspiracy among the Officers but no factual basis
supports such an assertion. To bring a civil conspiracy claim under Pennsylvania law, a plaintiff must
allege the following: (1) a combination of two or more persons acting with a common purpose to do
an unlawful act or to do a lawful act by unlawful means or for an unlawful purpose; (2) an overt act
done in pursuance of the common purpose; and (3) actual legal damage. General Refractories
Company v. Fireman's Fund Insurance Company, 337 F.3d 297, 313 (3d Cir.
2003); see Strickland v. University of Scranton, 700 A.2d 979, 987-988 (Pa.Super. 1997). Proof
of malice, i.e., an intent to injure, is essential in proof of a conspiracy." Thompson Coal Co. v.
Pike Coal Co., 488 Pa. 198, 211, 412 A.2d 466, 472 (1979) (citations omitted). Skipworth by
Williams v. Lead Indus. Ass'n, Inc., 547 Pa. 224, 690 A.2d 169, 174 (Pa. 1997)




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                            Respectfully submitted,
                            HOLSTEN ASSOCIATES, P.C.

                      BY:   Suzanne McDonough__________________
                            SUZANNE MCDONOUGH, ESQUIRE
                            Attorney ID No. 29394
                            115 N. Jackson Street
                            Media, PA 19063
                            (610) 566-7183
                            Attorney for Moving Defendants, Borough of
                            Collingdale and Officer Richers




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                                CERTIFICATE OF SERVICE

       I, Suzanne McDonough, Esquire, counsel for Defendants, Borough of Collingdale and

Officer Colin Richers, hereby state that a true and correct copy of the within Motion to Dismiss

and Memorandum of Law in Support of same was served upon the following individual via

ECF electronic mail, this 19th day of May, 2022

                      ADAM GOMEZ, ESQ.
                      GRANT & EISENHOFER PA
                      123 S. JUSTISON STREET
                      6TH FLOOR
                      WILMINGTON, DE 19801

                      Attorney for Plaintiffs


                                     Respectfully submitted,
                                     HOLSTEN ASSOCIATES, P.C.

                                     Suzanne McDonouogh
                                     _______________________________________
                                     Suzanne McDonough, ESQUIRE
                                     Attorney ID No. 29394
                                     115 N. Jackson Street
                                     Media, PA 19063
                                     (610) 566-7183
                                     Attorney for Moving Defendants,
                                     Borough of Collingdale and Officer Colin Richers




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